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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

    EMMANUEL CORNET, JUSTINE DE                     )
    CAIRES, GRAE KINDEL, ALEXIS                     )
    CAMACHO, JESSICA PAN, EMILY KIM,                )
    MIGUEL BARRETO, and BRETT                       )
    MENZIES FOLKINS,                                )
                                                    )
                           Plaintiffs,              )
              v.                                    )    C.A. No. 23-cv-441-TMH
                                                    )
    TWITTER, INC.,                                  )
                                                    )
                          Defendant.                )

                       THE PRESS COALITION’S MOTION TO
               INTERVENE AND FOR UNSEALING OF JUDICIAL RECORDS

                                  PRELIMINARY STATEMENT

         This proceeding relates to events that have been the subject of much public interest and

  attention: Elon Musk’s acquisition of Twitter, Inc. and the controversial mass layoffs that

  immediately followed that acquisition. Nonetheless, a significant number of the case’s filings

  are currently shielded from public view. Since November 2024, a total of 26 documents have

  been filed under seal in their entirety, each time without opposition from either party. See D.I.

  98 (including attachments), D.I. 108 (including attachments), D.I. 106 (including attachments),

  D.I. 111 (including attachments), D.I. 114-2, and D.I. 117-2-8. That these documents are under

  seal in the absence of any meaningful justification is contrary to our legal system’s “strong

  presumption of openness,” which “does not permit the routine closing of judicial records to the

  public.” In re Avandia Mktg., Sales Practices and Prods. Liab. Litig., 924 F.3d 662, 673 (3d Cir.

  2019) (internal quotation marks omitted).

         Non-parties American Broadcasting Companies, Inc. d/b/a ABC News; the Associated

  Press; Bloomberg L.P. d/b/a Bloomberg News; Cable News Network, Inc. (“CNN”); Dow Jones
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  & Company, Inc., publisher of The Wall Street Journal; Forbes Media; Guardian News & Media

  Limited; Insider Inc. d/b/a Business Insider; NBCUniversal Media, LLC d/b/a NBCUniversal

  News Group; The New York Times Company; Wired, published by Advance Magazine

  Publishers Inc.; and WP Company LLC d/b/a The Washington Post (collectively, the “Press

  Coalition”) now move, pursuant to Federal Rule of Civil Procedure 24(b), to intervene in this

  proceeding for the limited purpose of vindicating the public’s right to access court records.

          The Press Coalition seeks to unseal the documents referenced above, each of which was

  filed in connection with Twitter’s still-pending motion to dismiss. Those documents are subject

  to the common law right of access under which sealing is permissible only upon a judicial

  finding that the party favoring secrecy has demonstrated, with specificity, that disclosure would

  cause some serious injury to a recognized interest. That showing has not been made, and,

  indeed, cannot be made, here. The Press Coalition should be permitted to intervene in this

  proceeding, and the documents at issue should be unsealed and made immediately available to

  the public. 1

                                           BACKGROUND

  I.      THE PUBLIC INTEREST IN TWITTER’S MASS LAYOFFS

          The basis and course of this proceeding are matters of substantial public interest. The

  lawsuit arises out of the mass layoffs at Twitter that immediately followed Mr. Musk’s October

  2022 acquisition of the company. D.I. 40 ¶¶ 2, 33. The Plaintiffs are former Twitter employees

  who contend that, after acquiring Twitter, Mr. Musk directed the company to renege on multiple




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    Prior to filing this motion, counsel for the Press Coalition reached out to counsel for the parties
  to get their positions on the relief being sought. Plaintiffs take no position on the motion.
  Twitter has retained new counsel for the purposes of a response to this motion, and a response
  will be forthcoming.
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  promises that any laid-off employees would receive the same severance benefits extended to

  Twitter employees prior to the acquisition. Id. ¶¶ 25-43. Plaintiffs allege that, as a result of

  these purported broken promises, they and other terminated employees received substantially

  less in severance than they were due. Id. ¶¶ 33-43.

         The Twitter layoffs have been the subject of considerable public commentary and

  attention, much of it focused on the controversy over whether, as alleged in this lawsuit, the laid-

  off employees were ill-treated under Mr. Musk’s leadership, as well as on speculation that Mr.

  Musk was using the layoffs to fundamentally reorient the powerful social media platform. 2 That

  public interest continues to this day, especially in light of Mr. Musk’s recent activities in relation

  to the Department of Government Efficiency (“DOGE”), through which he is overseeing a

  controversial round of mass layoffs within the federal workforce. 3



  2
    See, e.g., Kate Conger et al., Two Weeks of Chaos: Inside Elon Musk’s Takeover of Twitter,
  THE NEW YORK TIMES (Nov. 11, 2022), https://www.nytimes.com/2022/11/11/technology/elon-
  musk-twitter-takeover.html; Alexa Course et al., Twitter Workers Said to Resign by the
  Hundreds After Elon Musk Set Employment Ultimatum, THE WALL STREET JOURNAL (Nov. 18,
  2022), https://www.wsj.com/articles/twitter-workers-brace-for-another-round-of-departures-as-
  musk-ultimatum-looms-11668716881; Joel Rosenblatt, Twitter Accused of Ducking a Fight Over
  Musk’s Mass Layoffs, BLOOMBERG (July 3, 2023),
  https://www.bloomberg.com/news/articles/2023-07-03/twitter-s-legal-fight-over-musk-s-mass-
  layoffs-blows-up; Lora Kolodny, CNBC (Mar. 4, 2024),
  https://www.cnbc.com/2024/03/04/former-twitter-execs-sue-elon-musk-and-x-for-128-million-
  in-severance.htmlhttps://www.nbcnews.com/tech/tech-news/former-twitter-execs-sue-musk-x-
  128-million-severance-rcna141836; Charlie Moloney, Elon Musk defends Twitter layoffs, saying
  staff given three months’ pay, THE Guardian (Nov. 5, 2022),
  https://www.theguardian.com/technology/2022/nov/05/elon-musk-defends-twitter-layoffs-
  saying-staff-given-three-months-pay; Victor Ordonez, Commit 'hardcore' or leave, Elon Musk
  tells Twitter employees, ABC NEWS (Nov. 16, 2022), https://abcnews.go.com/Business/commit-
  hardcore-leave-elon-musk-tells-twitter-employees/story?id=93411363.
  3
    See, e.g., Zoë Schiffer, Elon Musk Is Running the Twitter Playbook on the Federal
  Government, WIRED (Jan. 29, 2025), https://www.wired.com/story/elon-musk-twitter-playbook-
  federal-government/; Derek Saul, Here’s What Happened After Elon Musk Cut 80% Of X’s
  Employees—As He Eyes Reshaping Federal Workforce, FORBES (Feb. 6 2025),
  https://www.forbes.com/sites/dereksaul/2025/02/05/heres-what-happened-after-elon-musk-cut-
                                                    3
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  II.    THE SEALED DOCUMENTS

         This motion concerns multiple sealed documents currently on the court docket. On May

  17, 2023, Twitter filed a motion to dismiss the operative Second Amended Complaint, arguing,

  inter alia, that none of the purported promises regarding severance benefits is enforceable by the

  former Twitter employees. D.I. 77-78. On June 7, 2023, Plaintiffs filed their opposition.

  D.I. 82. While those filings, and Twitter’s subsequent reply, D.I. 88, are available for public

  review and scrutiny, subsequent filings connected to the pending motion to dismiss are not.

         On November 26, 2024, Plaintiffs moved for leave to file under seal a Notice of

  Supplemental Authority in support of their opposition to the motion to dismiss, along with

  supplemental authority consisting of four arbitration awards obtained by other ex-Twitter

  employees in parallel actions against Twitter and a sample arbitration demand. D.I. 99. Twitter

  then weighed in to support the sealing, asserting that the “arbitration awards,” as well as any

  documents that “describe the substance of the arbitrations” “should be sealed from public view”

  because the “arbitrations . . . are subject to confidentiality agreements.” D.I. 100. The Court

  granted the unopposed motion to seal. D.I. 101.




  80-of-xs-employees-as-he-eyes-reshaping-federal-workforce/; Pranav Dixit, Trump’s
  government-worker buyouts are feeling a lot like Musk’s Twitter in 2022, BUSINESS INSIDER
  (Jan. 28, 2025), https://www.businessinsider.com/trump-buyout-offer-government-workers-elon-
  musk-twitter-layoff-strategy-2025-1; Hannah Natanson et al., Move fast, break things, rebuild:
  Elon Musk’s strategy for U.S. government, WASHINGTON POST (Feb. 24, 2025),
  https://www.washingtonpost.com/technology/2025/02/24/doge-fast-cuts-federal-workers-
  programs-elon-musk/; Clare Duffy et al., They lived through Elon Musk’s Twitter takeover.
  Now, they have advice for federal government employees, CNN (Feb. 5, 2025),
  https://www.cnn.com/2025/02/05/tech/musk-x-twitter-takeover-us-government-employee-
  advice/index.html; Matt O’Brien et al., How the tactics Musk brought to Washington backfired
  at Twitter, THE ASSOCIATED PRESS (Feb. 7. 2025), https://apnews.com/article/elon-musk-twitter-
  takeover-x-doge-government-efficiency-e78ac431e7bbf2ae8513594078f1408b.
                                                   4
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         Plaintiffs subsequently moved to file four similar filings under seal, the most recent of

  which was filed on March 21, 2025. D.I. 109, 112, 115, 118. With the exception of the latest

  request, which the Court has not yet ruled upon, each time, the Court granted the unopposed

  sealing request. D.I. 110, 113, 116. Each time, the only rationale for sealing offered was that

  “Twitter takes the position that arbitration awards and filings are confidential,” and that “the

  arbitral awards contain some personally identifying information.” D.I. 109, 112, 115, 118.

         At present, the following filings (the “Sealed Documents”) are entirely under seal:

     •   D.I. 98 and attached exhibits, which consist of four arbitration awards against Twitter

         from parallel proceedings, a related arbitration demand, and Plaintiffs’ explanation of the

         significance of the awards to Twitter’s motion to dismiss;

     •   D.I. 108 and attached exhibits, which consist of four additional arbitration awards against

         Twitter from parallel proceedings, Plaintiffs’ response to Twitter’s Response to

         Plaintiffs’ Notice of Subsequent Authority (D.I. 106), a copy of a discovery letter Twitter

         submitted in one of the arbitrations, and a copy of a Notice of Supplemental Authority

         Twitter filed in other proceedings relating to one of the arbitration awards;

     •   D.I. 111 and attached exhibits, which consist of an additional arbitration award against

         Twitter from a parallel proceeding and Plaintiffs’ explanation of the significance of that

         award to Twitter’s motion to dismiss;

     •   D.I. 114-2, which is an additional arbitration award against Twitter from a parallel

         proceeding; and

     •   D.I. 117-2-8, which consist of seven additional arbitration awards against Twitter from

         parallel proceedings.




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  Plaintiffs have explained that the sealed arbitration awards support their opposition to Twitter’s

  motion to dismiss because they refute Twitter’s assertion that no reasonable factfinder could find

  in favor of Plaintiffs on their claims for certain severance benefits. D.I. 115-1, 118-1.

         The Press Coalition now moves to unseal those filings, each of which was sealed in

  contravention to the public’s common law right of access to judicial materials.

                                             ARGUMENT

  I.     THE PRESS COALITION SHOULD BE PERMITTED TO INTERVENE.

         Intervention is the appropriate vehicle for journalists and news organizations to vindicate

  the right of the public and press to access judicial records. See Pansy v. Borough of Stroudsburg,

  23 F.3d 772, 777 (3d Cir. 1994). The Third Circuit has “routinely found, as have other courts,

  that third parties have standing to challenge protective orders and confidentiality orders in an

  effort to obtain access to information or judicial proceedings,” and that press organizations “may

  have standing notwithstanding the fact that ‘they assert rights that may belong to a broad portion

  of the public at large.’” Id. (citations omitted); see also, e.g., United States v. Wecht, 537 F.3d

  222, 232 (3d Cir. 2008) (media intervenors had standing to challenge restrictions on access to

  names of jurors).

         Indeed, judges in this District have repeatedly lamented that requests to seal typically

  come to them unopposed, as the sealing requests did in this case, thus requiring courts to

  determine whether the extraordinary circumstances justifying sealing are present without the

  benefit of the adversarial process. See, e.g., Takeda Pharms. U.S.A., Inc. v. Mylan Pharms., Inc.,

  2019 U.S. Dist. LEXIS 218029, at *1-2 (D. Del. Dec. 19, 2019) (Andrews, J.) (noting the

  difficulty courts face in “reign[ing]” in the “tendencies” of “corporate parties in complex

  litigation [to] prefer to litigate in secret” where “there is usually no one opposing whatever

  [sealing] requests are made”); In re Storag Etzel GmbH, 2020 U.S. Dist. LEXIS 12374, at *2 (D.
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  Del. Jan. 23, 2020) (Connolly, J.) (enumerating difficulties of protecting the “public . . . right of

  access to our filings” in the context of “unopposed motions to seal proceedings”).

         The Press Coalition should, accordingly, be permitted to intervene for the limited purpose

  of opposing continued sealing and seeking access to the Sealed Documents.

  II.    THE SEALED DOCUMENTS SHOULD BE UNSEALED UNDER THE
         COMMON LAW RIGHT OF ACCESS.

         This Court should also order the unsealing of the Sealed Documents, which is mandated

  by the common law right of access. It is well settled that “the common law presumes that the

  public has a right to access to judicial materials.” Avandia, 924 F.3d at 672. This “common law

  right of access” encompasses the right “to inspect and copy public records and documents,

  including judicial records and documents.” Id. (internal quotation marks omitted). As the Third

  Circuit has emphasized, this “right of access is not a mere formality—it ‘promotes public

  confidence in the judicial system’; ‘diminishes possibilities for injustice, incompetence, perjury

  and fraud’; and ‘provide[s] the public with a more complete understanding of the judicial system

  and a better perception of its fairness.’” Id. at 677 (quoting Littlejohn v. BIC Corp., 851 F.2d

  673, 678 (3d Cir. 1988)); see also MED-EL Elektromedizinische Gerate Ges.m.b.H. v. Advanced

  Bionics, LLC, 2024 U.S. Dist. LEXIS 32015, at **5-6 (D. Del. Feb. 26, 2024) (“Motions to seal

  judicial records are a big deal. They seek to shield from public view information that judges

  consider when rendering their decisions. Sealing orders deprive the public of information that it

  can use to assess a judge’s ruling, and they deprive lawyers and parties of information they can

  use to distinguish or analogize a case—a fundamental part of the development of the law.”).

         Now-Chief Judge Connolly aptly summarized the law in this area as follows:

         The District Court is not a star chamber. We are a public institution in a
         democratic republic and the public has a right of access to our filings. This right
         is founded in the common law and “antedates the Constitution.” The public’s
         right of access is not absolute; but it is strongly presumed, and it can be overcome
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          only if a party demonstrates that public disclosure of a filing will result in a
          “clearly defined and serious injury.”

  Etzel, 2020 U.S. Dist. LEXIS 12374, at *2 (quoting Bank of Am. Nat’l Trust & Sav. Ass’n v.

  Hotel Rittenhouse Assocs., 800 F.2d 339, 343 (3d Cir. 1986), and Avandia, 924 F.3d at 672); see

  also Genentech, Inc. v. Amgen Inc., Civ. No. 17-1407, 2020 U.S. Dist. LEXIS 54775, at *11 (D.

  Del. Mar. 30, 2020) (same). In this case, the common law right of access requires unsealing of

  the materials at issue.

          A.      The Sealed Documents Are “Judicial Records,” Subject to the Common Law
                  Right of Access.

          First, the Sealed Documents unquestionably constitute “judicial records,” subject to the

  common law right of access. Under Third Circuit precedent, a document constitutes such a

  “judicial record” if it has been “filed with the court” in the context of “pretrial motions of a

  nondiscovery nature.” Avandia, 924 F.3d at 672 (quoting In re Cedant Corp., 260 F.3d 183,

  192-93 (3d Cir. 2001)). That applies to the Sealed Documents—each was filed with the Court in

  opposition to a motion to dismiss. See, e.g., id. at 675 (“It is undisputed that each of the

  challenged documents are ‘judicial records’ subject to the common law right of access because

  the parties filed the documents on the District Court’s public docket in support of, or in

  opposition to, GSK’s motion for summary judgment.”).

          That the judicial records here are “creatures of contract,” as Twitter has previously

  argued, does not alter this result. See D.I. 100 at 1-2 (asserting that, “[u]nlike litigation in federal

  courts, ‘[a]rbitration is fundamentally a creature of contract’ that is dictated by the parties

  agreed-upon terms”) (quoting Allstate Settlement Corp. v. Rapid Settlements, Ltd., 559 F.3d 164,

  169 (3d Cir. 2009)). While it is true that arbitrations, because they are rooted in private

  contractual arrangements, are not themselves subject to any rights of public access, once



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  materials from an arbitration proceeding are filed in court, they become presumptively public

  judicial records.

         For instance, in Pennsylvania National Mutual Casualty Insurance Group v. New

  England Reinsurance Corp., 840 F. App’x 688, 689-91 (3d Cir. 2020), the Third Circuit affirmed

  an order unsealing an arbitration award that was filed in support of a confirmation petition. In

  opposing unsealing, the party that filed the arbitration award made essentially the same argument

  Twitter has made here, asserting that, as an “arbitration award,” the sealed filing was “not a

  judicial record to which the common-law right of access applies.” Id. at 690. The Third Circuit

  disagreed. The Court explained, in terms equally applicable here, that the fact that the arbitration

  award was filed with the court outside the context of a discovery motion was itself sufficient to

  render it a judicial record for these purposes. 4 Id. at 691 (“Penn National filed the arbitration

  award on the docket with the District Court as part of its motion to confirm the award. Thus,

  according to our precedents, the award became a judicial record subject to the common-law right

  of access.”); see also In re Storag Etzel GmbH, 2020 U.S. Dist. LEXIS 97953, at **19-25, *44-

  83 (D. Del. Mar. 25, 2020) (common law right of access required unsealing of arbitration awards




  4
    The Court in Pennsylvania National Mutual reached this conclusion even though, by the time
  the third-party motion to unseal was filed, the matter had been settled and the petition to confirm
  the arbitration award had been withdrawn. 840 F. App’x at 689. In other words, the filing of the
  arbitration award on the court’s docket automatically rendered it a judicial record, subject to the
  common law right of access, regardless of whether the filing ended up being pertinent to any past
  or future judicial action.
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filed with the court), R.&R. adopted in relevant part, In re Storag Etzel GmbH, 2020 U.S. Dist.

LEXIS 97836 (D. Del. June 3, 2020).

          The Sealed Documents are, thus, judicial records, subject to the common law right of

access.

          B.     The Common Law Right of Access That Attaches to the Sealed Documents
                 Cannot be Overcome.

          Second, the presumption of public access that attaches to the Sealed Documents as

judicial records cannot be overcome in this case. The Third Circuit has explained that “the

common law right of access begins with a thumb on the scale in favor of openness—the strong

presumption of public access.” Avandia, 924 F.3d at 676. This strong presumption of public

access can be overcome only if the party in favor of sealing can demonstrate that “the material is

the kind of information that courts will protect and that the disclosure will work a clearly defined

and serious injury to the party seeking closure.” Id. at 672 (quoting Miller v. Ind. Hosp., 16 F.3d

549, 551 (3d Cir. 1994)). Crucially, “concern about a company’s public image, embarrassment,

or reputational injury, without more, is insufficient to rebut the presumption of public access.”

Id. at 676. Nor can the presumption of access be defeated with “[b]road allegations of harm,

bereft of specific examples or articulated reasoning.” Id. at 673 (quoting In re Cendant Corp.,

260 F.3d at 194). Ultimately, to uphold a request to seal judicial records, a “District Court must

articulate ‘the compelling, countervailing interests to be protected,’ [and] make ‘specific findings

on the record concerning the effects of disclosure.’” Id. at 672 (quoting In re Cendant Corp.,

260 F.3d at 194).

          The continued sealing of the Sealed Documents cannot be justified in accordance with

these standards. As explained above, the Third Circuit has already squarely rejected the

argument that arbitration materials, once filed in court, constitute “the kind of information that


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courts will protect.” See supra at 9 (discussing Pennsylvania National Mutual Casualty

Insurance). That is the sole justification for sealing Twitter has offered. As for Plaintiffs, all

they have done, beyond deferring to Twitter’s non-specific invocations of confidentiality, is note

that “the arbitral awards contain some personally identifying information.” D.I. 99, 109, 112,

115. If that does create a sufficient privacy interest to justify some continued sealing—and the

Press Coalition, having not seen the awards, cannot definitively say one way or the other—that is

easily addressed through narrowly targeted redactions. See Samsung Elecs. Co. v. Imperium IP

Holdings (Cayman), Ltd., 2017 U.S. Dist. LEXIS 137678, at *7 (D. Del. Aug. 28, 2017) (“A

document is not sealed in its entirety simply because it contains trade secrets or confidential

information, rather, the protection sought must target the specific secrets and confidential

information.”). Neither party has pointed to any “clearly defined and serious injury” that would

come close to justifying wholesale sealing of the materials.

       The continued sealing of the Sealed Documents cannot be justified under the common

law right of access. To the extent either party offers additional grounds for sealing in

oppositions to this motion, the Press Coalition reserves the right to respond in reply.

                                          CONCLUSION

       For the foregoing reasons, the Press Coalition respectfully requests that (1) it be

permitted to intervene in this proceeding; and (2) the Court unseal and make publicly accessible

the following docket entries: D.I. 98 (including attachments), D.I. 108 (including attachments),

D.I. 106 (including attachments), D.I. 111 (including attachments), D.I. 114-2, and D.I. 117-2-8.




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Dated: March 25, 2025

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